                  IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

  IN RE:                                  : No. 1:23-bk-00988-HWV
     UPTOWN PARTNERS, LP d/b/a            :
     RESIDENCES AT GOVERNOR’S             :            Chapter 11
     SQUARE, a/k/a GOVERNOR’S             :
     SQUARE APARTMENTS                    :
                                          :
                       Debtor             :

  UPTOWN PARTNERS, LP                     :
                    Movant                :
                                          :
                  v.                      :
                                          :
  REDEVELOPMENT AUTHORITY                 :
  OF THE CITY OF HARRISBURG,              :
  CAPITAL REGION WATER, CITY              :
  OF HARRISBURG, DAUPHIN                  :
  COUNTY TAX CLAIM BUREUA                 :
  and HARRISBURG AREA SCHOOL              :
  DISTRICT                                :
                    Respondents           :

    CONCURRED IN MOTION OF UPTOWN PARTNERS, LP TO CONTINUE
        FINAL SALE HEARING AND HEARING ON THE MOTION
                TO APPROVE AUCTION PURCHASER

       Uptown Partners, LP, d/b/a Residences at Governor’s Square, a/k/a Governor’s

 Square Apartments (“Debtor” or “Uptown Partners”) by and through its counsel,

 Cunningham, Chernicoff & Warshawsky, P.C., files this Motion to Continue Final Sale

 Hearing and the hearing on the Motion to Approve Auction Purchaser, is as follows:

       1.     On May 2, 2023, the Debtor filed a voluntary Chapter 7 Petition under the

 United States Bankruptcy Code.




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        2.     Following a Motion filed by the Debtor, on September 12, 2023, the Court

 entered an Order converting the case to a case under Chapter 11 of the United States

 Bankruptcy Code.

        3.     On November 1, 2023, the Debtor filed a Motion to Set Sale Procedures and

 to Approve Sale of Real Property Free and Clear of all Liens, Claims, Encumbrances and

 Other Interests (the “Sale Motion”) [Doc 79].

        4.     The Sale Motion concerns certain Real Property (the “Real Property”)

 located in the City of Harrisburg, Dauphin County, Pennsylvania, which contains multiple

 parcels of real estate on which various low-income housing is constructed.

        5.     On November 14, 2023, the Court entered an Order approving Debtor’s sale

 procedures and setting a final hearing (the “Procedures Order”) [Doc 88].

        6.     On January 17, 2024, the Debtor filed a Motion to Approve Auction

 Purchaser (the “Approval Motion”) [Doc 106], setting forth ANCDI as the Successful

 Bidder (as defined in the Approval Motion) and 2087 Market Street, LLC as the backup

 bidder.

        7.     Currently, the Final Hearing on the Sale Motion and the hearing on the

 Approval Motion are scheduled for September 10, 2024, at 11:00 a.m.

        8.     Several Objections have been filed to the Approval Motion, including an

 Objection by the Department of Housing and Urban Development (“HUD”).

        9.     One of the requirements for the sale is HUD approval of the Successful

 Bidder, or in the alternative, a backup bidder.



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        10.    In order to permit any bidder, additional time to obtain HUD approval, it is

 requested that the hearing currently scheduled for September 10, 2024, at 11:00 a.m. be

 continued until November 5, 2024.

        11.    This request for a continuance is concurred with by all objecting parties.

        WHEREFORE, Debtor, Uptown Partners, LP respectfully requests that this

 Honorable Court continue the Final Sale Hearing and the hearing on the Motion to Approve

 Auction Purchaser currently scheduled for September 10, 2024, at 11:00 a.m. to November

 5, 2024, and award the Debtor such other and further relief as is just and proper.

                                           Respectfully submitted:

                                           CUNNINGHAM, CHERNICOFF
                                           & WARSHAWSKY, P.C.

                                           By:        /s/ Robert E. Chernicoff
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 Date: September 4, 2024




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